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                    UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION

UNITED STATES OF AMERICA


VERSUS                      CRIMINAL ACTION NO. 5:07cr17-DCB-JCS-007


CADIE MAE BUNCH                                                      DEFENDANT

                                  ORDER

     This cause is before the Court on the defendant’s pro se

Motion for Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2)

[docket entry no. 251], wherein the defendant requests a reduction

of her sentence pursuant to the recent amendments to the sentencing

guidelines applicable to offenses involving cocaine base and the

subsequent decision by the United States Sentencing Commission to

make this amendment retroactive.      Having carefully considered the

motion, the government’s response thereto, information provided by

the United States Probation Office, applicable statutory and case

law, and being otherwise fully advised in the premises, the Court

finds and orders as follows:

     On October 25, 2007, the defendant entered a plea of guilty to

one count of conspiracy to distribute cocaine base, i.e., crack

cocaine. The original sentence imposed was 63 months imprisonment,

60 months supervised release, and a $1,500.00 fine.               The defendant

had a base offense level of 34.            Bunch received a three-level

reduction for acceptance of responsibility, an additional three-

level    downward   departure   pursuant    to   USSG    §   5K1.1,     and      an
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additional two-level reduction, resulting in a total offense level

of 26.     She was in a criminal history category of I.                         The

applicable guideline range for a total offense level of 26 and a

criminal history category of I was 63 to 78 months. Bunch received

the minimum guideline sentence.

     Bunch now moves for a reduction of her sentence pursuant to

Amendment 706 to the Sentencing Guidelines, which lowers the base

offense levels applicable to crack cocaine offenses. Amendment 706

went into effect on November 1, 2007. The United States Sentencing

Commission determined that Amendment 706 would apply retroactively

through   United    States     Sentencing   Guidelines     Manual       §   1B1.10,

effective on March 3, 2008.           The result of the amendment and its

retroactivity      is   that   this    Court,   pursuant   to      18   U.S.C.    §

3582(c)(2), has the discretion to reduce the terms of a defendant’s

imprisonment when certain criteria are met.

     Bunch is not eligible for a reduction of her sentence pursuant

to this amendment.         Since Amendment 706 went into effect on

November 1, 2007 and the defendant was not sentenced until March

18, 2008, the new guidelines–-to whatever extent applicable to her

case–-have already been taken into consideration.                       Thus, the

defendant’s request for a sentence reduction is without merit.

                         III. CONCLUSION AND ORDER

     Based upon the foregoing analysis and authorities,

     IT IS HEREBY ORDERED that the defendant’s Motion for Reduction


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of Sentence [docket entry no. 251] is DENIED.

     IT IS FURTHER ORDERED that the defendant Cadie Mae Bunch’s

sentence remain at a term of 63 months.

     IT IS FURTHER ORDERED that all other terms and provisions of

the original judgment remain unchanged and in full force and

effect.

     SO ORDERED, this the 19th day of March 2009.

                                       s/ David Bramlette

                                 UNITED STATES DISTRICT JUDGE




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